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 1    ORD
      GABRIEL L. GRASSO, ESQ.
 2    State Bar Number 7358
      231 South Third Street, Suite 100
 3    Las Vegas, Nevada 89101
      (702) 868-8866
 4
      Attorney for MACIAS-CHAVEZ
 5
                                UNITED STATES DISTRICT COURT
 6
                             IN AND FOR THE DISTRICT OF NEVADA
 7
 8    UNITED STATES OF AMERICA,                )
                                               )
 9                        Plaintiff,           )
                                               )      Case No.:   2:09-CR-00302-GMN-PAL
10    vs.                                      )
11                                             )      SECOND AMENDED ORDER
      JUAN CARLOS MACIAS-CHAVEZ,               )      (ECF NO. 172)
12                                             )
                                               )
13                                             )
                      Defendant.               )
14
      ______________________                   )
15
16          This is a second amended order meant to comply with DEA lab requirements for
17    retesting in DEA Case number (R5-08-0069) by a defense expert. The Court hereby

18    amends its Order filed on October 13, 2011 (ECF No. 172), as follows:
            IT IS HEREBY ORDERED that in accordance with specified DEA Lab policies and
19
      procedures, the following requirements will be followed:
20
            1.     That the defense expert who will be conducting the retest for purity and
21
      reweigh of the methamphetamine exhibits only is Gregory Zavatsky, Forensic and Clinical
22    Toxicologist, of Forensic Toxicology Associates, 9348 DeSoto Ave, Chatsworth,
23    California, 91326. DEA registration number is RF0301553.
24          2.     The following exhibits will be reweighed at the DEA Southwest Laboratory,

25    2815 Scott Street, Vista, CA 92081: Exhibit numbers 1 (one), 4 (four), and 6 (six) (the
      methamphetamine samples).
26
            3.     The same Exhibit numbers 1 (one), 4 (four), and 6 (six) will be retested for
27
      purity at Forensic Toxicology Associates, 9348 DeSoto Ave, Chatsworth, California,
28
      91326. Gregory Zavatsky will be allowed to take the DEA prescribed sample amount of
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      no more than one gram from each of the three methamphetamine exhibits and carry said
 1    amounts with him to the above named private laboratory for purity testing.
 2           4.     That the defense expert Gregory Zavatsky will personally appear at the

 3    DEA Southwest Laboratory to complete this reanalysis and agrees that the use of DEA
      Laboratory facilities or equipment for any testing or analysis of the drug sample(s) will not
 4
      be allowed.
 5
             5.     That defense expert Gregory Zavatsky will bring and utilize his own
 6
      equipment such as, but not limited to, gloves, safety glasses, laboratory jacket, testing
 7    materials, and weighing device.
 8           6. Any samples remaining after defense re-analysis shall be returned to the
 9    originating DEA laboratory within 5-days of the completion of the testing. If the samples
10    are completely consumed during the rep-analysis, a letter documenting that fact shall be

11    sent by the defense expert to the originating DEA laboratory.
             DATED
             IT IS SOthis 1st day ofthis
                          2d
                       ORDERED       March,
                                         2nd 2012.
                                             day of March, 2012.
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14
                                                       __________________________
15                                                     Gloria M. Navarro
                                                       United States District Judge
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